Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 1 of 16




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA,

          Plaintiff,

          And

    OSAGE MINERALS COUNCIL,

          Intervenor-Plaintiff,

    v.                                       Case No. 14-CV-704-GKF-JFJ

    OSAGE WIND, LLC;
    ENEL KANSAS, LLC; and
    ENEL GREEN POWER NORTH
    AMERICA, INC.,

          Defendants.

                Plaintiff the United States’ Response to Defendants’
    Motion to Compel the United States of America and the Osage Minerals Council
         to Designate Persons to Testify Pursuant to Rule 30(b)(6) (Dkt. 266)
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 2 of 16




      Plaintiff, the United States of America, responds to Defendants’ Motion to

   Compel the United States of America and the Osage Minerals Council to Designate

   Persons to Testify Pursuant to Rule 30(b)(6) (Dkt. 266), as follows, and requests that

   the Court deny the motion.

      The Court well-knows the history of this case. See Dkt. 264 at 1-5 (“Background

   and Procedural History”). This history presages the ongoing time-wasting, harassing

   strategies Defendants have, once more, evinced in their most recent Motion to

   Compel. As seen by comparison of the “Notice[s] of Rule 30(b)(6) Deposition” (Dkt.

   266-1, 266-2), the notices are identical. They were, moreover, sent after hours on the

   same day the parties had a hearing on a contentious motion to allow the plaintiffs to

   conduct additional depositions. See Dkt. 252. Despite vigorous protest, the

   Magistrate Judge allowed all the specific depositions sought to be set. Id. Busying the

   plaintiffs, at the eleventh hour of discovery, with issues Defendants knew would

   draw an objection, and which had not been the subject of any motion for relief to the

   Court, smacks of retaliation. The United States has repeatedly noted the law of the

   case forecloses this type of discovery. Defendants’ Motion to Reconsider makes clear

   they full-well understood the reach of the United States’ objections and the impact of

   the Court’s previous orders. See Dkt. 229 at 7-9. As the Court noted in the Opinion

   and Order denying the Motion to Reconsider, these issues have been fully and

   repeatedly briefed. See Dkt. 264 at 7-10. Defendant knows exactly what the law of

   the case is as to the topics in their Rule 30(b)(6) Deposition Notices.




                                              1
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 3 of 16




   I.      No Protective Order was required; the United States’ 30(b)(6) witness was
           available to Defendants, and instructions not to answer were appropriate
           under the Federal Rules of Civil Procedure, as given in every other
           deposition taken by Defendants in this case.

        Oddly, Defendants first contend that “[m]erely serving letters containing

   objections” to the Notice “did not relieve Plaintiffs from their obligations to produce

   30(b)(6) witness.” Dkt. 266 at 12. Plaintiff did not consider itself so “relieve[d].” On

   August 26, 2021, Eddie Streater, the Eastern Oklahoma Regional Director of the

   Bureau of Indian Affairs, did sit for deposition as a 30(b)(6) witness. Id. at fn. 2.

        Defendants then contend the United States was required to seek a protective

   order from the Court. Id. at 13. The United States did not seek a protective order

   from the Court, as it fully complied with the Rule’s letter and spirit. Rule 30(b)(6)

   requires that “[b]efore or promptly after the notice or subpoena is served, the serving

   party and the organization must confer in good faith about the matters for

   examination.” Defendants readily admit the United States provided all parties a pre-

   conference courtesy letter outlining objections to certain topics and their basis. Dkt.

   266-3. The most significant objection raised was based on Defendants’ incessant

   propounding of discovery in contravention of this Court and the Tenth Circuit’s

   extensive rulings in this case. Id. at 3-5.

        At the August 16, 2021, teleconference, following the United States’ letter, the

   Notice and extensive rulings-based objections, among other issues, were discussed.

   The United States committed to make a witness available but warned Defendants an




                                                 2
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 4 of 16




   instruction to the witness not to respond would likely be lodged to several questions,

   consistent with Plaintiff’s approach to discovery for well over a year.

       Rule 30(c)(2) speaks to objections that may be made in any deposition, including

   one convened under Rule 30(b)(6). Therein, it is held that counsel may “instruct a

   deponent not to answer only when necessary to preserve a privilege, to enforce a

   limitation ordered by the court, or to present a motion under Rule 30(d)(3).” The

   United States has clearly and consistently instructed their deponents in this matter to

   not answer, when appropriate, citing the limitations to defenses and relevance

   ordered by the Tenth Circuit and this Court. Likewise, the United States has clearly

   and consistently refused to answer Defendants’ (numerous) objectionable

   interrogatories or other discovery requests, citing the same limitations and law of the

   case. Dkt. 270 at 4-9. Rule 30(b)(6) does not allow the questioner to obtain all

   answers, when the inquiry was previously addressed by various court orders, and fair

   objection and instruction under Rule 30(c)(2) is made. 1

       Knowing full well which matters the United States considered subject to

   previously entered Orders, Defendants elected to proceed. Defendants set the course

   of the 30(b)(6) deposition, asking some questions that were (arguably) not fully

   addressed by previous Orders and some that were. In the latter instance, the United



   1
    Defendants do not give the Court any clear sense of Mr. Streater’s 30(b)(6) deposition
   (and, in fact, did not wait for the transcript to be prepared before filing their motion). Mr.
   Streater was presented and prepared to discuss all Part 214 leases entered on or after
   January 1, 2010. While his preparation was confined to the four corners of those documents
   – as he informed defense counsel – actual instructions not to answer were few.

                                                 3
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 5 of 16




   States, as has been its practice through months of deposition discovery, instructed the

   witness not to respond where it fairly believed that “a limitation ordered by the

   court” applied to the question asked. Defendants apparently avoided other topics

   altogether and did not require either an answer or objection on the record. 2 Nor have

   Defendants presented to the Court a transcript of the specific questions asked or the

   responses given, as required by Local Civil Rule 37-2(d).

   II.      The hastily prepared “Notice” does not meet the Federal Rules’
            particularity legal standard.

         As to the 30(b)(6) “reasonable particularity” notice requirement, as Defendants

   know, the plaintiffs both noted the slapdash, carbon-copy Notice sent to both. Dkts.

   266-3, 266-4. Predictably, this led to topics being included in both Notices that were

   not appropriate. For instance, Topic 4 calls for “[a]ll C.F.R. Part 214 leases” even

   contemplated by the “OMC from 2008,” a topic not fairly addressed to the United

   States. Id. at 3. Likewise, Topic 7 asked the United States to answer for “[a]ll

   instances” in which the “OMC sought, endorsed, imposed, or opposed ejectment or

   removal” of certain structures. Id. at 4. Topic 9 also sought testimony about “[a]ny

   analyses undertaken or conducted” by the OMC. Id. During the meet and confer,

   Defendants conceded that the hastily drawn 30(b)(6) Notice topics must be adjusted

   to limit the plaintiffs to each “answer for” their own action or information.




   2
    Counsel for the United States made Defendants fully aware that it would be Plaintiff’s
   position that the deposition would not be “held open,” despite Defendants’ self-serving,
   concluding speech to the contrary at deposition.

                                                4
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 6 of 16




      The parties also discussed the utter lack of any (or unreasonable) time limitations

   in a number of topics, including Topics 6 and 7. Congress has reserved the Osage

   Mineral Estate (OME) for more than a century; yet, Defendants sought “[a]ll

   instances” where mining may have occurred with no lease. Dkt. 266-1 at 4.

   Defendants agreed in the meet and confer that some temporal limit would be

   appropriate but would not yield regarding the “[a]ll instances” language. Even so,

   Defendants never issued an Amended Notice to reflect the concerns addressed at the

   meet and confer and never committed to any limitation in writing.

      As this Court has held, “Rule 30(b)(6) notices may not be overly broad or subject

   the Rule 30(b)(6) deponent to an ‘impossible task’ in preparing for the deposition.”

   Feltz v. Bd. of County Commissioners of County of Tulsa, No. 18-CV-298-CVE-JFJ, 2020

   WL 2039250, at * 4 (N. D. Okla. April 28, 2020). Defendants’ Rule 30(b)(6) Notice

   was both overly broad and subjected the deponent to an impossible task. The Notice

   asked the United States to answer for all instances of mining with no lease. In other

   words, it tasked the United States to investigate over 100 years of activity to see if

   others had flouted the lease requirement. Further, the Notice asked the United States

   to testify about “processes or procedures” for leasing “including without limitation”

   “information” available to the public in 2013 and 2014 and “in what manner” the

   information “was made known” to the public. Dkt. 266-1 at 3. The words “including

   without limitation” are the hallmark of an improper 30(b)(6) Notice. Reed v. Bennett,

   193 F.R.D. 689, 692 (D. Kan. 2000) (where “the defendant cannot identify the outer

   limits of the areas of inquiry noticed, compliant designation is not feasible.”); Bristow

                                               5
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 7 of 16




   First Assembly of God v. BP p.l.c., No. 15-CV-524-TCK-FHM, 2019 WL 5783729, at *

   5 (N.D. Okla. Nov. 6, 2019) (considering the “reasonable particularity” standard of

   Rule 30(b)(6), the phrase “including but not limited to” was improper).

   III.   Defendants have not attached or cited “Plaintiffs’ specific objections” to
          relevance; this motion is improper.

      Defendants seem to contend the courtesy letter they received before the meet and

   confer, well before any question was asked of the 30(b)(6) witness, should be treated

   as objections on the record. Dkt. 266 at 15-22. Defendants refer to Plaintiff’s

   “specific objections” but cite only the courtesy letters provided before the meet and

   confer and prior to the deposition. Id. at 17, 20. As Defendants know, the meet and

   confer – had after receipt of the courtesy letter their motion quotes at length – was a

   vigorous discussion about the law of the case, relevancy, reasonable time constraints,

   differences between the plaintiffs, and a host of other issues.

      To contend the deposition of Mr. Streater (as the United States’ Rule 30(b)(6)

   representative) was somehow improper, Defendants must cite specific questions

   asked and instructions not to answer at the deposition. Defendants did not even wait

   for the deposition transcript to arrive before filing. The courtesy letter (offered, but

   not required, as a reference or starting point for a meet and confer) is not the final

   word. Defendants set up the letter as a straw man to avoid complying with the rules.

      Significantly, the United States did produce Mr. Streater, primarily prepared to

   respond to Topic 4 of Defendant’s Notice, with limitations based on the same

   objections regarding relevancy and law of the case. As this Motion to Compel does



                                                6
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 8 of 16




   not concern this topic, it seems Defendants were content with Mr. Streater’s answers.

   As well, other Topics (Nos. 2, 3, 5, 8, 9) were discussed in the United States’

   courtesy letter and at the vigorous meet and confer and were then, it seems, dropped.

   IV.   The subject areas advanced in Defendants’ Motion are a tired rehash of the
         same discovery they have repeatedly sought through discovery, letter
         requests, depositions, and subpoenas, all of which were met with the
         United States’ insistence that this Court and the Tenth Circuit should be
         taken at their word.

      As set out in the United States’ response to their second Motion to Compel,

   Defendants are reviving stale discovery disputes – never brought to the United States’

   attention, much less to the Court – since early last year. Dkt. 270 at 4-9. Defendants

   let more than a year of discovery pass without addressing those disputes. In those

   instances, the United States denied the relevance and did not produce discovery for

   the same reason noted here – to enforce the Court’s orders. Now, as discovery has

   closed and new defense counsel has appeared, regret over Defendants’ litigation

   strategy for the last year apparently fueled a desire to revive discovery disputes and

   divert the parties’ attention from closing discovery and beginning dispositive briefing.

   This tactic is against Rule 30’s letter and spirit, which requires (for good reason)

   discovery disputes to be timely brought to the Court.

      The parties have engaged in extensive paper and deposition discovery – starting

   in December 2019 and only recently concluding. From the very first responses to

   Defendants’ discovery requests, the United States has, when appropriate, reminded

   Defendants of this Court and the Tenth Circuit’s rulings and refused to answer

   irrelevant questions, given the law of the case. See Dkt. 270-2, 270-4 and 270-5. For

                                               7
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 9 of 16




   18 months of discovery, Defendants raised no objection and brought no discovery

   dispute to the Court, save for the six discreet items addressed in their ill-conceived

   first Motion to Compel. Dkt. 177 at 15. Defendants now want a do-over, claiming

   the law of the case cannot prevent discovery as to Plaintiff’s actions or inactions.

      Defendants as much as admitted they are willfully refusing to acknowledge the

   Court’s holding by arguing “both the United States and the OMC also took actions,

   or failed to act, while Project was under construction that may be material to

   whether Defendants’ actions were taken in good or bad faith.” Dkt. 262 at 18. Here,

   they contend they should discover “what information was publicly available” in

   “2013 or 2014.” Dkt. 266 at 19. In other words, Defendants are determined to delve

   into information not known to them but held by the United States in 2013 or 2014.

   Of course, inquiry regarding the “innocent trespasser” limit on recovery of damages

   looks to the state of mind of the trespasser and whether the trespasser acted and

   inquired in a reasonable way. See Dkt. 270 at 14 -16.

      In any event, this Court could not have been clearer in rejecting the notion that

   the plaintiffs’ actions are relevant:

          As in [Davilla], “Congress has dictated the prerequisites of a right to enter
          [for mining work] by statute.” Davilla, 913 F.3d at 967. As recognized by
          the Tenth Circuit, Osage Wind’s excavation work required it “to secure
          a federally approved lease from OMC under § 214.7.” Osage Wind, LLC,
          871 F.3d at 1092. Permitting third-parties to avoid these stringent leasing
          requirements by pointing to the Nation’s own conduct would frustrate
          federal Indian land policy.

   Dkt. 207 at 7-8. Days later, the Magistrate Judge, considering Defendants’ first

   Motion to Compel enforced that conclusion:

                                               8
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 10 of 16




           [The District Court] indicated that delay or misconduct of the Osage
           Nation, including the United States as trustee for the Osage minerals
           estate, will play no role in the equitable analysis. Based on Davilla and
           the January 11 order, the requested discovery items are not relevant to
           remaining issues in the case.

    Dkt. 210 at 24. As this Court is aware, Defendants then sought review of the

    Magistrate’s ruling and even reconsideration of the resulting order. On

    reconsideration, this Court held that, “Finally, for the first time, defendants contend

    that the requested discovery may be relevant to other remedies, apart from the

    equitable remedies of injunction and ejectment.” Dkt. 264 at 25.

       Topic 1 of the Notice asks for “processes or procedures for issuing a lease”

    pursuant to Part 214, including the “documents or information available to the

    public,” the “method” such documents were available and the “manner” in which

    availability of the information was made known to the public. Dkt. 266-1 at 3.

    According to the Tenth Circuit, “Osage Wind was required to procure a lease under

    25 C.F.R. § 214.7.” Dkt. 78 at 26. This Court has made clear it will not allow any

    defense forgiving this requirement, when it found that permitting Osage Wind to

    avoid the regulations’ “stringent leasing requirement” by pointing to Plaintiffs’

    conduct “would frustrate federal Indian land policy.” Dkt. 207 at 7-8. The law of the

    case is that a lease was required, and discovery about leases that existed for other

    third parties in other situations, correspondence or information made available to

    others, and the universe of information Defendants might have found (had they

    asked) is irrelevant to this litigation.




                                               9
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 11 of 16




       Topic 6 of the Notice asks about “instances” in which a party engaged in mining

    without securing a lease and how the United States responded. Dkt. 266-1 at 4.

    Topic 7 puts a finer point on the prior topic, seeking information about “instances”

    where a party mined without securing a lease and whether the United States did or

    did not seek ejectment or removal of structures, specifically, in those instances. Id.

    These “topics” are only another way to get at the same information already

    requested and under the Court’s consideration in Defendants’ second Motion to

    Compel against the United States. As the United States noted in its Response to

    another of Defendants’ motions:

          If the United States communicated with other entities regarding Part 214
          leases in 2014, unbeknownst to Defendants, it would have no possible
          relevance to the issue at hand – the “innocent” trespasser doctrine as it
          relates to damages owed to the OMC. If, unknown to Defendants, no
          enforcement action was brought against other trespassers, it would be
          irrelevant to the “innocent” trespasser doctrine.

    Dkt. 270 at 19-20.

       Even more improper is the fact that this discovery was sought more than a year

    ago, and Defendants never asked for a meet and confer, much less presented the

    issue to the Court. Instead, they allowed discovery to continue, with multiple rounds

    of document exchanges, depositions, and a robust motion practice. See Id. at 6-7. (In

    January of 2020, Defendants sought “all documents concerning any investigation by

    the Bureau of Indian Affairs with respect to the need for lease or permit at any other

    construction/excavation site in Osage County in the last 15 years.”). In its February

    2020 response to this original request, the United States noted that “Defendants were



                                               10
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 12 of 16




    required to ‘secure a federally approved lease from OMC under § 214.7.’ Dkt. 78 at

    p. 24-25. With that matter now established law of the case, ‘investigations’ into other

    ‘construction/excavation’ sites is simply irrelevant.” Id. at 7. “The law of the case

    (especially the Tenth Circuit’s ruling) rendered this subject matter irrelevant.” Id.

         No objection by Defendants was ever raised, and, for over a year, the United

    States proceeded to repeatedly assert that objection as appropriate. As discovery

    ended and new defense counsel appeared, Defendants hoped to revive this very stale

    discovery matter by re-asking for the information in the form of 30(b)(6) topics.

    V.      Defendants sorely misrepresent the posture of this case in another tired
            rehash of arguments previously made before this Court.

         Defendants contend that the Tenth Circuit “law of the case” in this matter cannot

    possibly reach to the issues of trespass, conversion and continuing trespass because

    the United States only sought summary judgment on the “central legal issue” before

    the District Court in 2014. Dkt. 266 at 17 (“When the case was before the Tenth

    Circuit, the United States (then the only plaintiff) had not sought summary judgment

    on the narrow issue of whether 25 C.F.R. Part 214 required a lease for the Project.”)

    Defendants previously (and unsuccessfully) made this argument in their response to

    the OMC’s successful Motion for Judgment on the Pleadings. Dkt. 205 at 9-10. It

    reveals a total - and perhaps, willful - misunderstanding of the history of this case

    and, worse, a confusion regarding simple civil procedure.

         After this case was filed, the United States did, in fact, move for partial summary

    judgment, in an effort to present the legal issue of Part 214 to the Court. Dkt. 24.



                                                11
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 13 of 16




    That motion was denied. Dkt. 44. A denied motion for partial summary judgment

    would not be appealable, as the case would usually proceed after partial summary

    judgment was not granted. Ortiz v. Jordan, 562 U.S. 180, 188 (2011) (“The

    jurisdiction of a Court of Appeals under 28 U.S.C. § 1291 extends only to ‘appeals

    from . . . final decisions of the district courts.’ Ordinarily, orders denying summary

    judgment do not qualify as ‘final decisions’ subject to appeal.”).

       On the other hand, Defendants did not act in accord with Plaintiff’s “narrow”

    issue approach. Instead, they filed a motion to dismiss or for summary judgment on

    all claims, including trespass: “Defendants are entitled to summary judgment on all

    claims set forth in the United States’ First Amended Complaint for Declaratory

    Judgment and Damages [Doc. 20] (“Amended Complaint”).” Dkt. 26 at 7 (emphasis

    added). Defendants asked the Court to “enter an order of dismissal or an order

    entering summary judgment in favor of Defendants, dismissing all claims in the Amended

    Complaint, awarding Osage Wind its costs incurred, and such other and further

    relief as the Court may deem just and proper.” Id. at 31 (emphasis added). Judge

    Payne’s opinion denying the United States partial judgment also fully granted

    Defendants summary judgment, deciding all claims, as specifically requested by

    Defendants. Dkt. 44 (“For the reasons outlined above, the Court concludes that

    Plaintiff’s claims fail as a matter of law. Accordingly, Defendants’ Motion for Summary

    Judgment [Doc. No. 26] is GRANTED and Plaintiff’s Motion for Partial Summary

    Judgment [Doc. No. 24] is DENIED.”) (italics added).




                                               12
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 14 of 16




       Of course, the full grant of summary judgment disposed of all counts and claims

    and was an appealable order. On appeal, no party teased out the separate five claims

    and argued that some should be reversed, and others not. The Tenth Circuit left no

    doubt about which order of the District Court it was considering: “Accordingly, we

    REVERSE the award of summary judgment for Osage Wind [] and REMAND for

    further proceedings consistent with this opinion.” Dkt. 78 at 3. (emphasis added).

       Not long ago, Defendants vigorously argued that “the Tenth Circuit clearly

    expressed that it was considering a complaint ‘for damages’[.]” Dkt. 101 at 25

    (emphasis by Defendant). Of course, Amended Complaint Counts 1 and 2 – which

    Defendants now contend were the only items before the Tenth Circuit – seek not

    damages but declarations only. Dkt. 20 at 7-9. For Defendants now to say the Tenth

    Circuit never considered Counts 3, 4 and 5 (for trespass, continuing trespass and

    conversion, see id. at 9-12) is directly opposite to their earlier contention that the

    Tenth Circuit considered a complaint “for damages.” Dkt. 101 at 25.

       It appears Defendants are unhappy about their decision to put all five counts of

    the Amended Complaint at issue before the Tenth Circuit. By doing so, they placed

    the issue of trespass, continuing trespass and conversion before the Tenth Circuit and

    invited a ruling. The Tenth Circuit obliged. At this late date, however, more than

    eighteen months of robust discovery and motion practice has occurred. The parties

    should be turning their attention to dispositive motions on the issue of damages

    owed to the OME. Defendants’ attempt to narrow the Tenth Circuit’s decision in a

    way not at all consistent with the actual procedural posture of the case (much less the

                                                13
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 15 of 16




    holding of the Court) should be denied. Initially, Defendants were happy to accept

    summary judgment on all claims, when granted. Now they are unhappy with the

    implication of the Tenth Circuit’s decision and reversal of summary judgment on all

    five claims. Defendants’ legal slight-of-hand argument unquestionably requires the

    Court to ignore the words of the Tenth Circuit: Defendants were required to “secure

    a federally approved lease from OMC under § 214.7.” Dkt. 78 at 24-25.

       For the foregoing reasons, the United States respectfully requests that the Court

    wholly deny Defendants’ Motion to Compel the United States of America and the

    Osage Minerals Council to Designate Persons to Testify Pursuant to Rule 30(B)(6)

    (Dkt. 266).

                                           Respectfully submitted,

                                           United States of America

                                           Clinton J. Johnson
                                           Acting United States Attorney

                                           s/Cathryn D. McClanahan
                                           Cathryn D. McClanahan, OBA No. 14853
                                           Nolan M. Fields IV, OBA No. 31550
                                           Assistant United States Attorneys
                                           110 West 7th Street, Suite 300
                                           Tulsa, Oklahoma 74119
                                           T: 918-382-2700
                                           cathy.mcclanahan@usdoj.gov
                                           nolan.fields@usdoj.gov




                                             14
Case 4:14-cv-00704-GKF-JFJ Document 277 Filed in USDC ND/OK on 09/20/21 Page 16 of 16




                                       Stuart P. Ashworth, OBA #31468
                                       Special Assistant United States Attorney
                                       United States Department of the Interior
                                       Office of the Solicitor
                                       Tulsa Field Solicitor’s Office
                                       7906 East 33rd Street, Suite 100
                                       Tulsa, Oklahoma 74145
                                       T: 918-669-7905
                                       stuart.ashworth@sol.doi.gov

                                       Of Counsel:
                                       Charles R. Babst, Jr.
                                       Attorney-Advisor
                                       United States Department of the Interior
                                       Office of the Solicitor
                                       Tulsa Field Solicitor’s Office
                                       7906 East 33rd Street
                                       Tulsa, Oklahoma 74145
                                       T: 918-669-7902
                                       charles.babst@sol.doi.gov




                                         15
